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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

ADAM DOBSON, 3
Plaintiff, >: NO. 1:16-cv-01958-JEJ
VS. :
THE MILTON HERSHEY SCHOOL, —: (Jones III, J.)
et al., :
Defendants.
ORDER

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AND NOW, this DS— day of Wok be, 2019, in light of the

concurrence of counsel for all parties, and upon consideration of Defendants’
Subpoenas to Testify at a Deposition in the above-referenced civil action served on
and directed to Elizabeth Kochis, and her failure to appear for her deposition on
July 25, 2019, and September 11, 2019, it is hereby ORDERED that:

1. Ms. Kochis shall comply with the deposition subpoenas and appear for
her deposition at 10:00 a.m. on Thursday, October 24, 2019, at the Law Offices of
Elliott Greenleaf, P.C., 201 Penn Avenue, Scranton, PA 18503; and

2. This Order shall be served on Ms. Kochis by federal express and regular
mail at 238 Main Street, Archbald, PA 18403, and 814 Hill Street, Archbald, PA

18403.

John fat a
United tatesNQistrict Judge
